






THIS
  OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
  PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Gerald Randal
      Smith, Appellant.
			
		
	


Appeal from Richland County
&nbsp;Clifton Newman, Circuit Court Judge
Reginald I. Lloyd, Circuit Court Judge
Unpublished Opinion No. 2008-UP-226
Submitted April 1, 2008  Filed April 11,
  2008&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED


	
		
			
				Deputy Chief Attorney for Capital Appeals, Robert M. Dudek, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, and Assistant Deputy Attorney General Salley W.
  Elliott, of Columbia; and Warren B. Giese, Solicitor, of Columbia, for
  Respondent.
			
		
	

PER CURIAM:&nbsp;
  Gerald Randal Smith pled guilty to
  voluntary manslaughter before Judge Newman.&nbsp; At the subsequent sentencing
  hearing before Judge Lloyd, Smith was sentenced to twenty-seven years
  imprisonment. Upon
  reconsideration by the sentencing judge, his sentence was reduced to
  twenty-four years.&nbsp; On appeal, Smith alleges the plea judge improperly accepted
  his plea because there was no factual basis for his plea.&nbsp; Smith also filed a pro se brief, alleging the State violated his plea negotiations, and that
  Judge Lloyds sentence was inappropriate.&nbsp; After a thorough review of the
  record and counsels brief pursuant to Anders v. California, 386 U.S.
  738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991),
  we dismiss the appeal and grant counsels motion to be relieved.[1]
APPEAL
  DISMISSED.
HEARN, C.J., PIEPER, J., and CURETON, A.J., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

